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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                         CIVIL ACTION NO. 3:19-CV-00851-BJB-CHL


  CHELSEY NELSON PHOTOGRAPHY LLC, et al.,                                                  Plaintiffs,

  v.

  LOUISVILLE/JEFFERSON COUNTY METRO GOVERNMENT, et al.,                                 Defendants.

                                                ORDER

         Pursuant to Local Rule 5.6(c),

                 Absent a federal statute or federal rule of procedure, local rule, or
                 standing order of this court. a party seeking to file a sealed document
                 must electronically file a motion for leave to seal. The motion must
                 state why sealing is required and must establish that the document
                 sought to be filed under seal is entitled to protection from public
                 disclosure.

  L.R. 5.6(c).

         On February 22, 2022, Plaintiffs filed a sealed motion.            (DN 119.)      Subsequently,

  Defendants filed a response to the motion, (DN 120), and Plaintiffs filed a reply, which they also

  filed under seal. (DN 121.) To date, no corresponding motion to seal has been filed. Therefore,

  the Court will set a deadline for Plaintiffs to file a motion setting forth the reasons why DN 119

  and DN 121 should not be unsealed. Additionally, the Court understands that the procedures set

  forth in Local Rule 5.6 do not well serve a situation where the proponent of sealing a document is

  not the party filing the document. Therefore, a memorandum and order regarding the sealing of

  confidential information filed in this case will be entered separately.
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         Accordingly,

         IT IS HEREBY ORDERED that on or before April 18, 2022, Plaintiffs shall file a motion

  to seal the documents filed at DN 119 and DN 121. A memorandum and order regarding the

  sealing of confidential information filed in this case will be entered separately. Responses and

  replies shall be governed by that memorandum and order.




      March 29, 2022
  cc: Counsel of record




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